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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                               Case No. 22-20641
v.                                             Honorable Victoria A. Roberts

ANDREW JOSEPH CASCHERA,

     Defendant.
__________________________________/

     ORDER DENYING DEFENDANT’S MOTION FOR DISCLOSURE
      OF THE COMPLAINING WITNESS’S FORENSIC INTERVIEW
      VIDEO PURSUANT TO A PROTECTIVE ORDER [ECF No. 28]

I.    INTRODUCTION

      Andrew Joseph Caschera – a registered sex offender with two prior

convictions for third degree sexual conduct – is charged with two counts of

attempted coercion and enticement (of a minor), in violation of 18 U.S.C. §

2422(b); two counts for enhanced penalties for registered sex offenders, in

violation of 18 U.S.C. § 2260A; and one count of felon in possession of a

firearm, in violation of 18 U.S.C. § 922(g)(1). He is in custody pending trial.

      Caschera moves for production of a forensic interview of a minor –

the complaining witness – pursuant to a protective order. [ECF No. 28].

      The Court DENIES the motion.
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II.   DISCUSSION

      In June 2021, Caschera met MV-1 online. She claimed to be older

than 18. They met and had sexual intercourse after he picked her up in her

neighborhood. When Caschera dropped her off at her residence,

a neighbor allegedly confronted him about her age, telling Caschera she

was 13. Caschera raised this issue with MV-1 online, questioning if she

was actually 19. She eventually admitted that she was thirteen years old.

      After learning MV-1 was thirteen, Caschera continued to try to meet

up with her, and did meet with her at least one more time. MV-1’s parents

discovered her activities and reported them to the police. MV-1 participated

in a forensic interview.

      Later, Caschera and MV-1 again communicated online, which her

parents discovered. Law enforcement executed a search warrant on

Caschera’s residence. They found large amounts of ammunition and

discovered that Caschera had been putting guns together from parts he

received through the mail. Agents also found Caschera’s phone, which

contained messages between him and MV-1. A grand jury indicted

Caschera for various offenses.

      Caschera now seeks to obtain a copy of MV-1’s forensic interview.

He says he needs the ability to evaluate the evidence in a private and



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secure setting with his attorney so that his attorney can effectively advise

him regarding whether to plead guilty or not at an upcoming plea hearing.

      The government opposes the motion. However, it offered to allow

Caschera and his attorney to view the forensic interview at the United

States Attorney’s Office (“USAO”) or the courthouse. The government also

offers to make the video available to Caschera and his counsel to review

more than once, if needed.

      Caschera says this is insufficient to meaningly fulfill his right to the

effective assistance of counsel for two reasons. First, Caschera says

requiring him and his counsel to view the interview at the USAO would

undermines the attorney-client privilege because “there is no guarantee

that [he] and [his] counsel would be left unattended and unsupervised while

watching the video.” He says he and his attorney will not be able to view

the video and freely speak about the matter if law enforcement is present or

within earshot. Second, Caschera says requiring him and his attorney to

view the interview only at the USAO forces them to have a finite amount of

time to discuss the matter.

      Caschera is not entitled to a copy of the forensic interview video.

      “The Jencks Act requires the government to produce any prior

statements of a witness that relate to the subject matter of the witness’s



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testimony and are in the government’s possession after the direct

examination of the witness.” United States v. Ledesma, No. 19-20216,

2020 WL 7075289, at *1 (E.D. Mich. Dec. 3, 2020) (citing 18 U.S.C. §

3500(a)-(b); Fed. R. Crim. P. 26.2(a) (“After a witness ... has testified on

direct examination, the court, on motion of a [defendant], must order ... the

government ... to produce ... any statement of the witness that is in [its]

possession and that relates to the subject matter of the witness’s

testimony.”)).

       The Sixth Circuit prohibits the Court from overriding the timing

provisions in the Jencks Act: “The clear and consistent rule of this circuit is

that ... the government may not be compelled to disclose Jencks Act

material before trial.” United States v. Presser, 844 F.2d 1275, 1283 (6th

Cir. 1988); see also United States v. Boykins, 915 F.2d 1573, 1990 WL

143559, at *5 (6th Cir. Oct. 2, 1990) (“The Sixth Circuit has expressly held

that the government has no obligation to disclose and the trial court has no

discretion to require disclosure of Jencks Act material before a witness

testifies.”).

       The government has satisfied its discovery obligations and exceeded

its obligations under the Jencks Act. The options the government offers

Caschera to view the video are reasonable, are sufficient to protect



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Caschera’s right to the effective assistance of counsel; and do not

undermine the attorney-client privilege. The Court requires the government

to give Caschera and his attorney sufficient time to meaningfully review the

video and allow them to view the video in a private setting to protect the

attorney-client privilege.

III.   CONCLUSION

       The Court DENIES Defendant’s motion for disclosure of the

complaining witness’s forensic interview video [ECF No. 28].

       The Court ORDERS the parties to immediately facilitate the process

for Caschera and his attorney to review the forensic interview video so that

Caschera is sufficiently prepared for his July 25 plea hearing.

       IT IS ORDERED.

                                          s/ Victoria A. Roberts
                                          Victoria A. Roberts
                                          United States District Judge
Dated: 7/13/2023




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